     Case 3:16-cr-02017-GPC    Document 30   Filed 09/26/16   PageID.65   Page 1 of 1



 1
 2
 3
 4
 5
                          UNITED STATES DISTRICT COURT
 6
                        SOUTHERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                  Case No.: 16CR2017-GPC
 8
 9                             Plaintiff,
                                                ORDER GRANTING
          v.
10                                              UNITED STATES’ UNOPPOSED
11 ANA ELSA LEON-BARRON (2),                    MOTION TO DISMISS

12
                              Defendant.
13
14
          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the information
15
     against Defendant Ana Elsa Leon-Barron (2) be dismissed, against her only, without
16
17 prejudice.
18
19
     Dated: September 23, 2016
20
21
22
23
24
25
26
27
28


30
31
